     Case 3:15-cv-02420-B Document 36 Filed 09/14/16             Page 1 of 4 PageID 166



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION



BOY SCOUTS OF AMERICA,                      §
     Plaintiff,                             §
                                            §
v.                                          §
                                            §   CIVIL ACTION NO. 3:15-CV-02420-B
NATIONAL UNION FIRE                         §
INSURANCE COMPANY OF                        §
 PITTSBURGH, PA.,                           §
      Defendant.                            §
___________________________________

  BOY SCOUTS OF AMERICA’S MOTION FOR LEAVE TO FILE ITS PREVIOUSLY
                SERVED EXPERT WITNESS DESIGNATION


TO THE HONORABLE JUDGE OF SAID COURT:

        COMES NOW Plaintiff, Boy Scouts of America (“BSA”), in the above-entitled and

numbered cause, and hereby files this Motion for Leave to File Its Previously Served Expert

Witness Designation as set forth below. BSA conferred with counsel for National Union Fire

Insurance Company of Pittsburgh, Pa. (“NUFIC”), and NUFIC does not object to this Motion.


                                RELEVANT BACKGROUND

        This insurance coverage action arises from a dispute over the existence and terms of

sixteen (16) umbrella and/or excess insurance policies BSA contends NUFIC issued to it. (Dkt.

1 ¶ 1.) BSA filed this action on July 21, 2015, seeking declaratory relief and claiming breach of

contract. (Dkt. 1.) The current Scheduling Order required BSA to file its expert witness

designation and provide report(s), if any, by July 27, 2016. (Dkt. 29.) BSA served its expert




BOY SCOUTS OF AMERICA’S MOTION FOR LEAVE
TO FILE ITS PREVIOUSLY SERVED EXPERT DESIGNATION                                           Page 1

ME1 23307748v.1
      Case 3:15-cv-02420-B Document 36 Filed 09/14/16                            Page 2 of 4 PageID 167



witness designation and report on NUFIC on that date. (Exhibit A.)1 Due to a clerical oversight,

BSA did not file the expert designation and report on ECF. NUFIC’s counsel received the

designation and report on July 27, 2016, and did not raise or object to the filing error. NUFIC

served a rebuttal designation and report. (Dkt. 35.) When BSA received the electronic filing

notice for Defendant’s rebuttal witness designation, BSA learned of its oversight.                                BSA

contacted counsel for NUFIC on September 14, 2016 to confer regarding this Motion, and

NUFIC’s counsel did not object.

                                              BASIS FOR MOTION


           BSA seeks an Order granting BSA leave to file its expert witness designation after the

date specified the Court’s electronic order.                  (Dkt. 29).      BSA served its expert witness

designation, expert report, and all required exhibits on Defendant on the July 27, 2016 deadline

specified in the order. BSA is not seeking an extension of the time to designate its expert,

merely leave to now file the designation previously served on NUFIC.

           NUFIC does not object to this motion. Good cause exists for this motion and it is not

sought for delay or any other dilatory purpose, but only to correct a clerical error. No party has

been prejudiced by this oversight, as NUFIC received the designation and report on July 27,

2016, did not raise any objection, and served a rebuttal report to BSA’s expert report. Further,

this motion does not require an extension or modification of any deadlines, and no Party herein

would suffer harm or prejudice if this Court grants this Motion.




1
    A copy of the Expert Witness Designation and Expert Report, with exhibits, is attached hereto as Exhibit B.
BOY SCOUTS OF AMERICA’S MOTION FOR LEAVE
TO FILE ITS PREVIOUSLY SERVED EXPERT DESIGNATION                                                                  Page 2

ME1 23307748v.1
    Case 3:15-cv-02420-B Document 36 Filed 09/14/16               Page 3 of 4 PageID 168



                              CERTIFICATE OF CONFERENCE

    Counsel for Plaintiff and counsel for Defendant have personally conducted a conference

regarding the issues raised in this motion and counsel for Defendant is not opposed to the

motion.

                                             PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that its Motion for Leave to

File Its Previously Served Expert Witness Designation is granted, and for all such other and

further relief to which they may be justly entitled.



                                               Respectfully submitted,
                                               MCCARTER ENGLISH, LLP

                                               By: /s/ Louis Chiafullo
                                               Louis Chiafullo Admitted Pro Hac Vice
                                               lchiafullo@mccarter.com
                                               Kelly Lloyd Lankford Admitted Pro Hac Vice
                                               klloyd@mccarter.com
                                               100 Mulberry Street
                                               Newark, NJ 07102
                                               Telephone:     973-622-4444
                                               Facsimile:     973-624-7070
                                               -and-
                                               Lauren Tow
                                               Lauren.Tow@cooperscully.com
                                               COOPER & SCULLY, P.C.
                                               900 Jackson Street, Suite 100
                                               Dallas, Texas 75202
                                               Telephone:     214-712-9500
                                               Facsimile:     214-712-9540
                                               ATTORNEYS FOR BOY SCOUTS OF
                                               AMERICA




BOY SCOUTS OF AMERICA’S MOTION FOR LEAVE
TO FILE ITS PREVIOUSLY SERVED EXPERT DESIGNATION                                            Page 3

ME1 23307748v.1
    Case 3:15-cv-02420-B Document 36 Filed 09/14/16               Page 4 of 4 PageID 169




                                CERTIFICATE OF SERVICE

         I hereby certify that I served a true and correct copy of Defendants’ Motion for Leave to
File Its Previously Served Expert Witness Designation to all counsel of record for all parties via
ECF on the 14th day of September, 2016.


                                             /s/ Lauren Tow
                                                LAUREN TOW




BOY SCOUTS OF AMERICA’S MOTION FOR LEAVE
TO FILE ITS PREVIOUSLY SERVED EXPERT DESIGNATION                                            Page 4

ME1 23307748v.1
